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            EXHIBIT I
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                      Apache Harmony '"


Compatibility goals in th e Apache Harmony Class Library

    Th e following guidelines are currently PROPOSED and being discussed on the
    development mailing list dev@ha r many . ap ache . argo Please direct comments and
    questions there.

    The Harmony project class library ("classlib") effort is committed to producing a set of class library code that
    not only Java compliant but is also compatible with existing Java implementations . This page describes the
    dass li brary code guidel ines for ensuring that compatibil ity.

  The "Reference Implementation"

    The Harmony project 'dasslib' effort is producing a set of class library code that is compatible with the Jaya
    SE 5.0 API sp.e.cification.

    At times (discussed below) it is necessary to augment the specification based on the behavior of the
    reference implementation (RI) of the Java SE 5.0 specification. In such cases we use the latest official
    retease of the Java SE 5.0 RI.

    We are aware that there are other compliant implementations of Java 5.0 available but there is only one
    reference impl ementation of the Java specifICation.

  G ene ral Compatibility Guide lines

    The following general guidelines apply when developing class library code for Apache Harmony:

     Comply with the Java Specification
       In the first instance we follow the description of each part of the class library given in the Java
       specification . To the large part, this adequately describes the behavior of the class library
       implementation including methods, exceptions , and serialization . However, where the specifICation
       is silent on a particular issue facing the implementor, or the described behavior is dearly illog ical ,
       then we follow Ihe behavior of the reference implementation.

     Follow the Reference Implementation
       The Reference Implementation (RI) is used to resolve issues that are nol adequately addressed in
       the specification. In such cases we use the RI as a guide to the compliant and expected behavior;
       however, developers must ensure that the behaviour of the RI is determined soley through
       exercising the public Java APls -- specifically we avoid any notion of reverse engineering or
       exposition of the RI's implementation by exercising non-API types and methods.
       There are a few occasions where both the specification is quiet on a given issue , and the RI exhibits
       behaviour thai we would consider illogical. In such cases we discuss the issue on th~QOY
       developers' mailing list, and code the class libraries to do what the development community
       conclude is "the logical thing".

     Do "the Logical Thing"

       The final decision about how a piece of code should behave , on those rare occasions where the
       specification and RI do not provide a satisfactory answer, is reached by concensus on the Harmony
       developers' maiting list. Each issue is debated based on it's individual circumstances, but the
       developers are aware thai breaking popular applications is invariably not "the logical thing" to do.




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        Once a decision has been made it is documented in the code comments and an issue raised in the
        Harmony---.JIRA issue trackingE..stIDn to record the conclusion. II should be noted that very few
        issues need to be resolved this way.


  Exception-throwing compatibility

     There are a number of methods in the Java specification that describe the conditions under which exceptions
     are thrown. However, in most cases the specification does not describe all possible exceptions that may be
     thrown , the order of exception throwing (i.e. where there are multiple conditions that would result in an
     exception), and so on .

     The Harmony class libary code aims to be fully compatible with the Reference Im plementation (RI) of the
     Java Specification by matching the exception characteristics of each method .

     Harmony class lib developers write test cases that deliberately cause exceptions to be thrown so that we
     can match exception behaviour like-for-like . Harmony class library code throws exceptions of the same
     runtime class (or a subtype of that runtime class) as the RI , other than in cases where the RI throws non-
     public types whereupon Harmony will throw an exception with the same public supertype.

     Generally, we could refer to the following steps.

     If RI is compliant with the Java Specification
        We shall follow RI's behavior, Ihat is , Ihrows exactly the same exception or a subclass of the
        exception .
                • But there are some cases that RI throws an implementation specific exception , which is
                    not in the Java Specification , we shall throw an equivalent Harmony specific exception,
                    or its superclass in the Java Specification.

                    Example

                              If RI throws sun . io . Mal f orrnedlnputException, we can throw
                              org.apache.harrnony.io.MalforrnedlnputException m
                              java . io . CharConversionException .


     If RI is not compliant with the Java Specification

                • If the Java Specification describes the exceptional situation explicitly, and Rlthrows
                  different kind of exception or even does not throw any exception , we shall discuss them
                  case by case in harmony-dev mailing list.
                            • If we decide to follow RI , we will raise an "Non-bug differences from Spec"
                               JIRA.
                            • If we decide to follow the Java SpeCification , we will raise an "Non-bug
                               differences from RI" JIRA.
                • If the Java Specification does NOT describe the exceptional situation explicitly, and RI's
                  behavior is either hard to reproduce or illogical, we shall discuss them case by case. And
                  we may decide to:
                            • Follow RI
                            • Follow the Java Specification
                            • Implement the functions in our own way


  Serialization compatibility

     The Harmony class library code aims to be serialization compatible with the reference implementation (RI).




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     The Java Specification describes the serialized form of many Java types . Where given, classlib will follow
     the specified se rialized form. When the serialized form is NOT given we will ensure that the serialization data
     is compatible with the RI by ensuring that objects serialized from the RI can be read by Harmony's classlib
     code , and vice versa.

     Serialization tests are part of our regular test suite and typically rely on having the persistent form of
     serialized objects written from the RI stored alongside our test suite code.

     To indicate that we are serialization-compatible we define an explicit Stream Unique Identifier (SU ID ) in each
     of the Harmony classlib seriali zable types that is equal to the SUIO of the corresponding type in the RI.

     Where the RI produces a serialized form that cannot be replicated by Harmony (e.g. the RI serialized form
     includes types that are not part of the Java specification) then Harmony cannot be serialization compatible
     with the RI , and will both make a prominent note of such in the relevant type's JavaDoc comment, and raise
     a JIRA issue that describes the incompatibility.

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